         Case 13-42507         Doc 71      Filed 06/11/18 Entered 06/11/18 09:38:27                   Chapter 13
                                              Final Decree Pg 1 of 1

                                      UNITED STATES BANKRUPTCY COURT
                                             Eastern District Of Missouri
                                         111 South Tenth Street, Fourth Floor
                                             St. Louis, MO 63102−2734

IN RE:

CASE NO.: 13−42507 − A659

CHAPTER: 13

DEBTOR(s):
Bruce Edwin Hopson − See below for reported alias information.
xxx−xx−0346
− See below for reported alias information.




                                                    FINAL DECREE
The Court finds that the trustee has performed all required duties in the administration of this case; that the Trustee
has made distribution of all funds which came into the Trustee's possession as required by orders of this Court and
has rendered a full and complete account thereof; and that the Trustee has performed all other and further duties
required in the administration of this case; and that the estate of the above named debtor has been fully administered.

IT IS ORDERED that the report of said Trustee be and it is approved and allowed; that the Trustee be discharged and
relieved of his trust; that the blanket bond of the Trustee, insofar as it applies to this estate, be canceled and the surety
thereon be released from further liability, except any liability which may have accrued during the time such bond was
in effect.

IT IS FURTHER ORDERED that the debtor is relieved of further responsibility for keeping this Court and the
Trustee advised of his current mailing address.

IT IS FURTHER ORDERED that case is closed.

Dated: 6/11/18


                                                                                     U. S. Bankruptcy Judge



Reported Alias Information:
Bruce Edwin Hopson −
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